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A Professional Law Corporation LEGAL PROCESS #1

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3 Sacramento, CA 95827
Telephone: (916 369-9750
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Attorney for Plaintiff,
BRANDY HASTINGS

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IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
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IN AND FOR THE COUNTY OF SACRAMENTO
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11 [BRANDY HASTINGS caseNo. D4AS5 05024
12 ) COMPLAINT FOR:
Plaintiff, ) Dos
» \ 1. Diserimination, Harassment, and
a 2 13 vs ) Retaliation in Violation of
BS eeP iy ) California Government Code §§
zeesis GTECH, Corporation, and DOES I through) 12926, 1240, ctSeq.
ESS Pez 50, inclusive, } 2. Wrongful Termination in Violation
SRS S Se 3 } of Public Policy
SPoes gs Defendant. } 3. Breach of Express Contract
Bong oe fy ] 6 | . .
Saeree § 4. Breach of Implied-In-Fact Promise
SS°8 2 17 J Not To Terminate But For Good
B ~“ so } Cause
28 1g: } 5. Breach of Implied Covenant of
) Good Faith and Fair Dealing
19 5 6. Fraud and Deceit: False Promise
} 7. Intentional Misrepresentation.
} 8 Intentional Infliction of Emotional
29 ; Distress
21
22 | Plaintiff alleges as follows:
23 GENERAL ALLEGATIONS
24 1. Plaintiff BRANDY HASTINGS (hereinafter “Plaintiff’) is, and at all times herein
25 mentioned was, an individual residing in the State of California, County of Sacramento, and was
26 | ot all relevant times herein mentioned employed with GTECH, INC..
2] > Defendant GTECH, Corporation, (hereinafter “GTECH”), is and at all times

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1 mentioned herein was 4 corporation, doing business in the County of Sacramento, in the State of

Cali fomia,

3. Plaintiff is ignorant of the true names and capacities of Defendants sued hereitl 48
DOES 1 through 50, inclusive, and therefore sues these Defendants by such fictitious nares.

Plaintiff will amend this Complaint to allege their true names and capacities when ascertained.

Defendants is responsible in some manner for the occutrences herein alleged, and Plaintiif’s

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-§ ||Ptaintiff is informed and believes and thereon alleges that each of the fictitiously named
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8 jdamages.

9 4, Plaintiff is informed and believes and thereon alleges that, at all times
10 | herein mentioned, the Defendants, and each of them, were the agents, servants and employees of
tl Ntheis Co-Defendants, and in doing the things hereinafter alleged were acting within the course

12 Wand scope of their authority as such agents, servants, and employees, and with the permission and
13 lconsent of their Co-Defendarts.

14 5. The acts and omissions giving rise to Plaintiff's causes of action occurred in the

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15 |lCounty of Sacramento, State of California as did the other acts complained herein.

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6. Plaintiff commenced employment with GTECH on November 20, 2000 as an

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Administrative Assistant in the Controt Room, while working double duty in the Human

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Resources Department beginning in Septernber 2001, and remained in those positions until
terminated on May 10,2004, Plaintiff also served as Security Coordinator though her official
title did net reflect her duties. Plaintiff was not given a reason for her termination. From her hire
date until she was suddenly terminated without warning, Plaintiff reported to Don Sevilla (until
September 1, 2001}, Cyndi Paul, Scott Gunn, and Tom Demy. During this time period, Plaintiff
successfully performed her job duties and requested and was given additional duties.

7, Plaintiff alleges that Defendants crested immediately upon the commencement
of her employment a workplace environment permeated with overt and subtle sexual comments,
innuendos, and remarks. Plaintiff further alleges that Defendants maintained a deeply-

entrenched workplace environment wherefore fernale employees were inherently

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1 |subordinate, where management encouraged and participated in berating and defaming of

employees, and where violations of personal and legal rights were commonplace. Defendants

also created a quid pro quo workplace wherein Plaintiff's foture employment opportunities were

hinged upon her acquiescence to Defendants’ improper, inappropriate and offensive treatment.

Despite successfully learning and fulfilling the duties, and despite her excellent job performance,

inappropriate, hostile and offensive manner by Defendants.

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‘6 Wplaintiff alleges that she was singled out and treated differently in an extreme, outrageous,
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8 Don Sevilla:

3 8. Plaintiff alleges that on or about January 18, 2001, approximately two months

10 Hatter her hire date Plaintiff was asked by Tonya Poley, Human Resources Represefttative,

11 |whether she was picking up supervisor Don Sevilla’s dry cleaning. Plaintiff informed Poley that
12 | Plaintiff would not do that. Approximately two weeks later on January 30, 2001, Don Sevilla

13 Icalled Plaintiff into his office where he remarked to Plaintiff that he could see her nipples.

14 | Plaintiff was shocked and sickened at the comment made to her by a manager and she responded

15 lito him that the comment made her uncomfortable and that she considered it to be sexual

16 | harassment. Plaintiff was further shocked ag she was wearing a turtleneck sweater at the time the

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17 lcomment was made and contends that the comment had no basis of truth. Plaintiff reported the
18 llineident to her superiors. Plaintiff's supervisor, Cyndi Paul informed Plaintiff that this was not

19 lithe first time Don Sevilla had made inappropriate comments to female employees.

20 Scott Gunn:
21 9. Plaintiff alleges that Scott Gunn (hereinafter referred to as “Gunn”,

22 I\the Deputy Accounts General Manager and Plaintiff's superior, intimidated, mistreated, and

23 |retaliated against employees on a regular basis. Gunn abused his position of authority by

24 |lsubjecting employees, in particular female employees, to inappropriate and offensive topics and
75 || materials. Plaintiff contends that Gunn received a subscription to Playboy magazine at the office
26 || where it had to first go through the desks of female employees. Plaintiff was offended on one

27 lloccasion when she was forced to open the mail and deliver Gunn his magazine. Further, Plaintiff

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1 Veit thet Gunn’s motives for having the magazine delivered to the office instead of his home was

2 | specifically to make the fernale employees fee! uncomfortable and inferior. Gunn was also well
3 Uknown for screaming and berating employees who he felt did not submit to hts demands.

‘4 Plaintiff was also subjected to his mistreatment of numerous oecasions. On one occasion Gunn
5 Wrequested from Plaintiff that she acquire reduced price theme park tickets for him from the

6 \nilitary base where Plaintiff's husband worked, Plaintiff informed Gunn that she would not do
7 lithat, Plaintiff contends that Gunn was offended at the fact that she did not acquiesce to his

3 \demands and as a result, she became a specific target of his demeaning, aggressive, and

9 retaliatory behavior. As part of his retaliatory behavior, Gunn requested review of Plaintiff's

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reirnbursement expenses, calling her expense account “suspicious”.

11 10. On January 7, 2003, Plaintiff noticed that her vehicle which was parked on the
12 company parking lot had been severely scratched. The scratch was on the drivers side of the
- 28 13 Ilvehicle, it ssanned from the front panel io the back door, and was deeply embedded down to the
Pei ees 14 |metal of the vehicle. Plaintiff recognized that the car had been “keyed” and, as a result of the
set ie 15 | increasing and overwhelming hostility that Scott Gunn displayed toward her, she suspected that
. sfeo x 16 lhe could be responsible. Plaintiff decided to review ihe security tapes to find out what had
e = “3 17 \nappened to her vehicle. Plaintiff alleges that Gunn barged into the security office, yelled at her
S z 18 II that she had no right to review the security tapes, and did not allow her to review the security

19 litapes. Gunn’s exceedingly hostile and questionable behavior frightened Plaintiff and increased

20 Iher suspicions as to Gunn’s involvernent in the incident.

21 11. Plaintiff spoke to the Account Genetal Manager, Dan McKinzey about the

9? lincident with her vehicle. McKinzey informed Plaintitt that GTECH would pay for the damages
23 ito the vehicle and that she should get three estimates for repair. Plaintiff did this, though she did
24 lnot receive reimbursement for the damage.

25 12. On March 5, 2003, Plaintiff had a performance review conducted by Scott Gunn.

26 || Plaintiff alleges that the meeting was tense and that Gunn became very hostile when she was not

27 llintirnidated by his line of questioning. Gunn attempted to belittle Plaintiff and undermine her

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abilities and qualifications. Gunn asked Plaintiff why she did not bave a college degree and
proceeded to tell Plaintiff that she was “uneducated”, and that “ary degree was better than note,

even if it was in underwater basket-weaving™. Plaintiff felt humiliated and frustrated for being

subjected to Gunn's intimidation tactics. In addition, Plaintiff later learned that Gunn had shared
information about Plaintiff's evaluation with Tamara Fontana, a co-worker of Plaintiff? s,

Cyndi Paul:

13. Onor about April 8, 2002 through May 9, 2002, Plaintiff's supervisor Cyndi
Paul was on a medical leave of absence. During this time, Plaintiff very successfull in performing
Paul’s duties while Paul was away. Plaintiff was praised end congratulated by co-workers for the
efficient and professional manner in which she handled the additional responsibilities. Upon
Paul’s return, Paul’s derneanor and attitude toward Plaintiff took a drastic downturn. Plaintiff
contends that Paul felt threatened and hostile toward Plaintiff due to Plaintiff's successful
execution of Paul’s duties and due to the praise that Plaintiff was receiving.

id. Plaintiff contends that her supervisor Cyndi Paul made endless efforts to humiliate
her, to berate her, and to make her look badly in front of others, On August 20, 2003, Plaintiff
attended a company conference at Boca Raton, Florida, with Paul where they both attended a
dinner of mixed company. Plaintiff contends various people at the dinner table started talking
about weight loss though she did not actively participate in this topic of conversation. During
this topic of conversation, Plaintiff contends that Paul was talking about the challenges of losing
weight when she announced to the entire table, “Maybe we should just do like Brandy did and
get a breast reduction.” Plaintiff was shocked, hurniliated, and at a loss for words. Plaintiff did
not personally know the other men and women at the table and she did not went her personal
information about the medical procedure shared. Furthermore, Plaintiff contends that Paul made
the comment with the intention of hurniliating Plaint}ff and making her uncomfortable. Ata

conference in Tennessee, Paul repeated her actions and mentioned Plaintiff's breast reduction in

j front of strangers. Upon her return, Plaintiff informed Tom Demy, Human Resources Manager

for the Western Region, about the hostility that was directed toward her at work, Demy denied

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1 | pe there was any hostility.
15. Mistreatment and Harassment from Paul toward Plaintiff escalated after January

6, 2004, Paul incessantly badgered Plaintiff about Plaintiff's weight and that Plaintiff needed to
gain weight. Paul harassed Plaintiff about ime off taken for Dr.’s appointments and iliness.

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5 || Plaintiff informed Paul that Plaintiff always worked a full eight hour day even if she had to come
6 |lin early or leave late on some days. Paul also toid Plaintiff not take any more medical leave

7 | because Paul couldn't “take it anymore.” On April 27, 2004 Plaintiff hurt her knee while on the

8 Iljob and was taken to the doctor by Paul. Upon her return to work from the doctor, approximately
9 Nforty minutes later, Paul screamed at her, “where have you been! What took you so long!”

10 |Plaintiff was flabbergasted at Paul's reaction as Pau! knew exactly where Plaintiff bad been. On
11 llanother cecasion, Paul told a co-worker of Plaintiff's that she believed Plaintiff suffered from a
12 |lserious health condition involving irregular heartbeat. When Plaintiff learned of this, she felt that
13 her rights had been violated again because did not allow her supervisor to divulge private

14 linformation about her medical conditions to co-workers. Plaintiff had always taken great care to

15 tkeep any medical conditions private.

16 16. On January 6, 2004, Paul and Demy approached Plaintiff and told her that they

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17 \found out about comments her husband made to a very powerful person in the organization. The
18 comments were in regard to some of the hostile and retaliatory treatment Plaintiff had received at
19 work, Paul and Tom expressed disgust at the actions of Plaintiff's husband and regarded

20 | Plaintiff ag a whistle-blower and told her, “We can never trust you again”.

21 17, Plaintiff went out on medical leave for anxicty and stress on or about February 11,
32 2004. Plaintiff resumed work on March 1, 2004. On or about February 23, 2004, while Plaintiif
23 || was on medical leave, Paul told Plaintiff that she would be moving and re-arranging her office
24 ilwhile she was away. After Plaintiff retumed to work, she found a Dilbert cartoon left on her

25 |ldesk by Paul which depicted: Catbert, Evil Director of Human Resources saying, “Your position
26 has been excessed, or as 1 prefer to say...] WILL TEAR THE FLESH FROM YOUR BONES!!!”

27 || At approximately the same time, Plaintiff was informed through e-mail that she was teplaced as

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security coordinator and taken off the security team..
18.  Onor about April 30, 2004 and May 7, 2004, Plaintiff sent e-mails to Kathleen

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McKeough, Corporate V.P. of Human Resources, Bruce Tumer, CEO, Barbara Burns, Corporate
Director of Human Resources, and Wanda Tanner, Western Region Human Resources Director,
about the problems at GIECH dealing with Scott Gunn, Tom Demy and Cyndi Paul, This was
after Plaintiff catne across a written notice of her termination on April.29 7004, Plaintiff
believes that her termination, and the fashion in which she was terminated, was a direct result of

those e-mails, Plaintiff contends thet GIECH had never taken the unprecedented steps of

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deactivating badges or changing locks until an employee was informed of his or her termination.

On or about May 10, 2004, Plaintiff was informed by Tom Demy via telephone that her

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termination date was moved forward because Plaintiff was upset. Plaintiff contends that this date

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feos was taken to cover up the fact that her termination was as a direct result of ber complaints

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to upper management.

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19. On or about May 19, 2004, Plaintiff received a call from AIG, Ingurance, about

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Plaintiff's disability claim for March. Plaintiff was informed by the AIG Representative that

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Cyndi Paul told them the only reason Plaintiff tured in the claim was because she was fired, and

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that Plaintiff had not reported the claim to Paul, In fact, Plaintiff had previously spoken to Carol

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Lebrecque, at Corporate Headquarters about the claim.

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Promotion

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20, In September 2001, Plaintiff was approached about assuming the responsibilities

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of Tonya Poley while that employee took a leave of absence for personal matters. Plaintiff, at

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that time, held the position of Administrative Assistant I. Though Plaintiff held the

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responsibilities of two positions, she was only paid for her position as Administrative Assistant

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and warned not to work avertime. Plaintiff was also informed by Tom Demy that she would be

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compensated approximately $5,000 or more for her extra efforts. Despite her responsibilities,

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Plaintiff enjoyed her wotk and was willing and eeger to cover for another employee in the

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position of Human Resources Coordinator. Plaintiff agreed to add a third position to her

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er,

1 responsibilities because she had an interest in advancing with the company and she believed that

her hard work would be recognized and rewarded, Plaintiff remained in the position as Human

Resources Coordinater when the employee who had taken leave did not return. Plaintiff did not

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4 receive compensation from Demy as promised. Plaintiff confronted him various times about the
5 \pay she had been promised and each time he refused to Tespond to her questions.
6 al. In September 2003, Paul informed Plaintiff that she could get promoted to HR
7 | Representative only after she received @ Certificate of Human Resource Studies. Plaintiff was
g also guaranteed that the GTECH would reimburse her for the courses. As usual, Plaintiff was
g |[eager to excel and to advance herself in her career. For this reason, Plaintiff enrolled in and
10 completed five online courses toward a Certificate of Human Resource Studies from Cornell's
11 || School of Industry and Labor Relations. Plaintiff was enrolled in six additional courses when
12 | she was terminated, and she was never reimbursed for those courses.
13 22. In addition, on or about April 15, 2003, Plaintiff was told by Tom Demy that ber
14 request for relocation to Austin, Texas was approved by Barbara Bums, Demy announced this
15 | ducing a conference call between Plaintiff, Cyndi Paul, Kathy Murfitt, and Rick Champagne. On

16 or about July 9, 2004, Paul called Plaintiff into her office about an e-mail Paul received regarding

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17 |Piainite s relocation, Paul informed Burns via e-mail that the move had been approved by

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1g |Demy. On or about August 4, 2004, Plaintiff wrote Demy an e-mail about the upcoming

19 {relocation to which Demy responded that the move had not becn approved by Burns.

20 Termination:
2} 23, On April 29, 2004, Plaintiff was at work going about her normal course of

49 [business wheo she came across a written document which indicated that she was going to be

73 yterminated. Plaintiff informed her supervisors about the document that she had seen. Plaintiff
24 |became very nervous and sick as a result of suddenly finding out she was being terminated. Tom
5 || Demy told Plaintiff to go ahead and take Friday off and start her one-week vacation a day early,
26 {Since he felt bad about how she found out about the termination. Plaintiff was told that they

7 would discuss the situation when she came back from vacation.

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24, While Plaintiff was out on vacation, a fellow employee informed Plaintiff that an

unusual e-mail had been sent out to employees by Linda Neil on May 3, 2004. The e-mail

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3 {strictly warned thern not to allow any employces into the building without 2 badge. Further, the

4 |/e¢-mail stated that any employee without a badge should not be allowed inside except under the

‘ | approval of Scott Gunn, On or about April 30, 2004 Plaintiff's badges were deactivated. Plaintiff
6 contends that since she had the keys, the locks to the buildings were also changed on May 4,

7 ¥2004. On or about April 10, 2004 when Plaintiff returned to work from her vacation, she found

g that she could not pain access to the building. Mike Warren, an employee, told Plaintiff that she
9

was po longer an employee. Plaintiff was not allowed to enter the building and clean cut her

10 \ office.

11 25, That same day, Plaintiff spoke to Cyndi Paul to get some answers. Paul told

12 Plaintiff that she felt bad about how the situation had been handled. Paul also told Plaintiff that
= 32 13 Plaintiff should have received packages with her final check and other paperwork. Plaintiff did
cel see 14 feceive a severance package which she was told included four weeks more than what she should
Se g P26 15 ave been eligible for. However, Plaintiff still did not reegive her final payroll check. Plaintiff
eons s 16 poke to Paul about the problem. When Plaintiff finally received her final check, GTECH put a
= ey 5 7 foramen on the check. GTECH eventually paid her with an additional 60 days of penalties

2 a 18 for various labor code violations.

19 26. Plaintiff contends that Barbara Bums, Corporate Director of GTECH Human

99 fResources Department held a meeting on or about May 7, 2004 informing staff in Rhode Island
2} tif they spoke to Plaintiff, they would face immediate termination. On or about May 10, 2004,
37 [fom Demy gave Sacramento employees the same warning. On or about June 2, 2004, Maggie

33 Ponia, another GTECH employee, informed Plaintiff that she was not allowed to talk to Plaintiff
24 Leow Plaintiff’ s tuition reimbursements, per Demy because it was a legal matter. On or about

95 Yune 21, 2004, GTECH employees in Texas were also told not to speak to Plaintiff, per Demy and
2g plephen Kelley, Texas Consolidated Data Center Manager.

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iscrimination, Harassment, and Retaliation in Violation of California Government
(Piserient R§ 12920, 1240, et Seq.)
27. Plaintiff incorporates herein by reference Paragraphs 1 through 26 of her

Complaint as though fully sct forth herein.

28. At all times mentioned in this Complaint California Constitution Article I, Section
e and Government Codes 12920 and 1940 et Seq. were in full force and effect and binding on

Hefendant. These sections require Defendant to refrain from harassing, discriminating and

etaliating against any employee on the basis of gender, or medical condition. The statements and

onduct on the part of the Defendants complained of herein (and specifically in Paragraphs 7 26)
epresent a violation of the Fair Employment and Housing Act and California Government Codes
2920 and 12940 et Seq. Within the time provided by law, Plaintiff filed a complaint with the
California Department of Fair Employment and Housing and received a right-to-sue letter.

29, As a proximate result of Defendant’s conduct, as more fully alleged in paragraphs
L - 26, above, Plaintiff has lost wages and benefits and other out of pocket losses and has suffered
ind continues to suffer humiliation, emotional distress, and mental and physica! pain and anguish,
hit to her damage in a sum according to proof at time of trial.
30. Aga further proximate result of Defendant's conduct and the consequences
broximately caused by it, Plaintiff has suffered medical and related expenses jn an amount
kccording to proof at time of trial.

31. The above described actions were done with malice, fraud, oppression and in

eckless disregard of Plaintiff's rights and were despicable in character and warrant the imposition
pf punitive damages in a sum sufficient to punish and deter Defendants.

WHEREFORE, Plaintiff prays for judgment as hereinafier set forth.

SECOND CAUSE OF ACT
[Wrongful Termination in Violation of Public Policy]

32. Plaintiff incorporates herein by reference Paragraphs 1 through 31 of her

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COMPLAINT

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(Complaint as though fully set forth herein.
33.  Atali times mentioned in this Complaint, Califomia Constitution Article 1, Section

and Government Codes 12920 and 1940 et Seq. were in full force and effect and binding on
efendant. These sections require Defendant to refrain from harassing, discriminating and
taliating against any employee on the basis of gender, or for exercising her right to medical

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6 eave. Defendant violated California law and public policy and engaged in questionable business
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hractices and those acts on the pert of Defendant led directly to Plaintiffs termination.
\ 34. In terminating Plaintiff as described above, Defendant violated public policy as
Follows:
10 a} Defendant violated the Fair Employment and Housing Act relating to
1 gender discrimination and harassment and California public policy.
12 b) Defendant violated public policy by failing to comply with 29 USC
13 Chapter 28 and Government Code § 12945.] et Seq. which make it unlawful for an
14 employer to discharge and/or discriminate against any employee because of the
15 individual's exercise of the right to medical leave provided by these statutes.
16 c) Defendant violated the policy enunciated in §132a of the
17 California Labor Code which provides that there should not be discrimination against
18 workers who are injured in the course and scope of their employment.
19 d) Defendant violated California Civil Code § 56.20 which makes it unlawful
20 _ for an employer to disclose or knowingly permit its employees or agents to use or disclose
a1 medical information pertaining to its employees without an authorization signed by the
2 employee permitting such disclosure,
x3 e) Defendant employer violated the California Labor Code §216 and
a4 California Public Policy by failing to comply with the employment agreement and with
55 said statute in failing and refusing to pay the wages due Plaintiff with the intent to annoy,
26 harass, oppress, delay, and defraud Plaintiff.
VF f) Defendant employer violated public policy by failing to comply with
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COMPLAINT

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Labor Code §201. This section provides that prompt payment of wages due an employee
is a fundamental public policy of the state. Where an employer discharges an employes,
the wages earned and unpaid at the time of discharge are due and payable immediately.
35,  Asaresult ofthe aforementioned acts of Defendants, Plaintiff has lost and

ntinues to Jose income and benefits and has suffered other incidental and consequential

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é amazes and expenses in an amount according to proof at time of irial. Plaintiff claims such an
+ RMount as damages together with prejudgment interest pursuant to California Code of Civil

g procedure and/or other provisions of Jaw providing for prejudgment interest.

9 36.  Asaresult of the aforementioned acts of Defendants, Plaintiff has become

19 (mentally traumatized, distressed and aggravated. Plainnff claims general damages for mental

1h I sstress in an amount according to proof at time of trial.

12 37. Asa further proximate result of Defendants’ conduct and the consequences
_ ~% 13 proximately caused by it, Plaintiff has suffered medical and related expenses in an amount
af i 14 Recording to proof at time of tnal.
Re : rg 15 WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
x ave B17 THIRD CAUSE OF ACTION
88 18 [Breach of Express Contract]
19 38. ‘Plaintiff incorporates herein by reference Paragraphs 1 through 37 of her

39 omplaint as though fully set forth herein.

5} 39. Defendant breached its express contract with Plaintiff by violating several

92 promises and representations made to Plaintiff which were bargained for by Plaintiff or on which
13 biaintif? relied in accepting and continuing her employment and certain conditions thereof.

14 40. First, Defendant entered into an employment agreement with Plaintiff that

' 94 bonsisted of, but was not limited to, rales relating to employee conduct and discipline whieh

ag Included well-defined, graduated steps which, the rules provide, shall be utilized by supervisors

97 prior to their disciplining or terminating their employees.

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COMPLAINT

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Al, Second, on or about September 2091, Tom Demy indicated to Plaintiff that she

ee

he would assume the responsibilities of

ould receive a bonus of approximately $5,000 if's
uman Resources Coordinator while another employce was on maternity leave. Though Plaintiff
lready had the responsibilities of Administrative Assistant If and Security Coordinator, Plaintiff
4 to take on the additional responsibilities in reliance on Plaintiff's promise.
42, Third, In September 2003, Cyndi Paul informed Plaintiff that she could get
bromoted to HR Representative only after she received a Certificate of Human Resource Studies.

Plaintiff was also guaranteed that the GTECH would reimburse her for the courses. Based on this

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xpress assurance, Plaintiff enrolled in and completed six online courses toward a Certificate of
ig pluman Resource Studies from Cornell’s School of Industry and Labor Relations. Plaintiff was

11 further enrolled in six courses when at the time of her unexpected termination, none of these six
12 Pourses were paid for.

3 43,  Onor about April 10, 2004, Defendants breached the above stated

14 Peteements by terminating Plaintiff without payment of the amounts due to her, without warning,
13 jthout counseling, without adequate reason and without an adequate investigation into the

16 fulleged basis for the termination.

7 44. _ Plaintiff has performed all conditions, covenants. and promises required by her to
1g be performed in accordance with the terms and conditions of the contracts described above insofar

19 RS the defendant will allow. Atal] times Plaintiff has been a dedicated and loyal employee and

99 (was willing to perform all the conditions of the employment agreement.

ot 45. Asa proximate result of Defendants’ aforesaid acts, Plaintiff has lost, and will
22 fontinue to lose, income, bonuses and benefits, and has suffered and continues to suffer

73 ponsequential and incidental damages, plus expenses incurred, all in an amount to be proven at
24 ime of trial, Plaintiff claims such an amount as damages together with prejudgment interest

55 pursuant to California Code of Civil Procedure and/or other provisions of law providing for

9g, prejudgment interest.

27 WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.

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COMPLAINT

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' { FOURTH CAUSE OF ACTI
{Breach of Implied-In-Fact Promise Not To Terminate But For Good Cause]
46. Plaintiff incorporates herein by reference Paragraphs | through 45 of ber

Fomplaint as though fully set forth herein.
47. Defendants’ policies, standards and practices included a promise on Plaintiff's

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6 enployer’s part not to terminate Plaintiff in the absence of good cause.

7 48. Defendants did in fact terminate Plaintiff without good cause in violation of the

8 fbove indicated agreement. (As more fully alleged in paragraphs 7 - 26, above.).

9 49, Plaintiff has performed all conditions, covenants, and promises required of her

10 pe her part to be performed in accordance with Defendants’ policies, standards and practices. On

11 prabout April 10, 2004, Defendants breached the contract by terminating Plaintiff without good

12 pause.
5 13 50. Asa result of the aforementioned acts of Defendants, Plaintiff has Jost and
w= :
Ee 38 14 Fontinues to lose income and benefits and has suffered other incidental consequential damages
oe § rig 15 pnd expenses in an amount according to proof at time of trial. Plaintiff claims such an amount as
was FD
; 3 . : . . . so
= & 28 23 16 Pamages together with prejudgment interest pursuant to California Code of Civil Procedure and/or
SSSAS p
% ss SB 17 hther provisions of law providing for prejudgment interest
= . = on
£2 ig WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
19
FIFTH SE_OF ACTION
20 .
[Breach of lmplied Covenant of Good Faith and Fair Dealing]
a] 5}. Plaintiff incorporates herein by reference Paragraphs | through 50 of her
22

Complaint as though fully set forth herein.

$2. At al] times herein mentioned Plaintiff was ernployed by Defendant GTECH, Inc.,
24 f° an Administrative Assistant I and had additional duty as Security Coordinator. Plaintii?
25 . oe

rommenced her employment with Defendant starting 3n November 20, 2000, and was employed

26
With Defendant until her termination on May 10, 2004.

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COMPLAINT

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$3, The employment relationship between Plaintiff and Defendant was subject to a
covenant of good faith and fair dealing which required, inter alia, the following:

a. That each party in the relationship act with good faith towand the other
concerning aJl matters relating to the employment,

d. That each party in the relationship act with faimess towards the other
concerning all matters relating to the employment,

c. That neither party take action to unfairly prevent the other from obtaining
the benefits of the employment relationship;

d. That Defendant employers and its agents treat similarly situated
employees in a similar manner}

g. That Defendant employers and its agents comply with its own
representations, policies, standards and practices in dealing with Plaintiff,

f. That defendant employers not terminate Plaintiff without fair and honest
cause, regulated by good faith on said Defendants’ part;

zg. That Defendant employers not terminate Plaintiff in an unfair manner; and

h. That Defendant employers give Plaintiff's interest as much consideration
as it gave its own mterest.
$4. California law requires that an employer exercise good faith and deal fairly it its
felationships with employees. Some of the terms of the employment agreement were.

a. In exchange for services, Plaintiff would receive a salary and other
benefits from Defendant employers;

b. The parties agreed to treat each other in accordance with the constitution
and the laws of the State of California; as well as in accordance with the policies,
standards and practices defendants;

c, Plaintiff would have a job so long as she performed her duties Ina
satisfactory manner, and discharge, ifany, would occur only for just cause, and only in

accordance with the company’s policies, standards and practices as well as the specific

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\ COMPLAINT

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asaurances made to Plaintiff,
d. Defendant employers would give Plaintiff reasonable prior notice of any

changes in company policies standards and practices which applied to Plaintiff and of any
changes in terms, duties or conditions of her employment;

@. Discipline or termination would take place only for just cause and would
occur only after a series of progressive steps Were undertaken;

55. Defendants’ termination of Plaintiff's employment was in bad faith, arbitrary,

fair and wrongful which means Defendants breached the covenant of good faith and fair dealing

ince:

a. Defendant terminated Plaintiff's employment notwithstanding the fact thet
she had not violated the rules, procedures and expectations communicated to her by
Defendants.

b. Defendant employer’s conduct violated its promises to Plaintiff as well as
its own rules, regulations and practices in that the termination of Plaintiff was a retaliatory
and unlawful response to Plaintiff's continued and persistent request for the earnings that
Defendant had promised her.

c, Defendant employer's conduct violated its promises to Plaintiff as well as
its own rules, regulations and practices In that the termination was without good cause and
was without an adequate investigation.

d. Defendant employer violated its own express policies and procedures and
its contract with Plaintiff and those violations led directly to Plaintiff's termination. The
violations by Defendant employer included the violation of express representations
relating to compensation to be received by Plaintiff during the period of time he was
employed at GTECH.

56. Asa proximate result of the aforementioned acts of Defendant, Plaintiff has lost

d continues to lose income and benefits and has suffered other incidental and consequential

amages and expenses in an amount according to proof at time of trial. Plaintiff claims such an

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Rrnount as damages together with prejudgment interest pursuant to California Code of Civil

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9 Procedure and/or other provisions of law providing for prejudgment interest.
3 WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.
‘ SIXTH CAUSE ACTION

° [Fraud and Deceit: False Promise |

6

57. _ Plaintiff incorporates herein by reference Paragraphs | through 56 of her
omplaint as fully set forth herein.

58. Defendants harmed Plaintiff by making false promises to Plaintiff with regard to
tertain benefits and conditions of employment and promotion.

59. In September 2001, Plaintiff was offered a significant bonus in exchange for
ccepting a substantial increase in responsibility. Specifically, Plaintiff was offered a bonus of
$000.00 or more to accept the responsibilities of an employee who was going on matemity
eave. This promise was a significant factor in Plaintiff's acceptance of the additional
esponsibilities.

60. Defendant had no intention of performing the promise when the promise was
fnade. Plaintiff approached Tom Demy on various occasions to ask for the promised amount.
Dery refused to acknowledge Plaintiff's requests and flat-out ignored Plaintiff's inquiries.
Plaintiff was terminated and was never paid the promised amount.

61. Defendant made the representation that Plaintiff would receive a bonus

hwith the intention of inducing Defendant to accept the job and perform the extensive duties of the
hosition while the other employee remained on leave.

62. Plaintiff did, in fact, reasonably rely on Defendants’ promise that she would
leceive a $5,000.00+ bonus as a condition of her acceptance of additional duties.

i 63. Despite Plaintiff's repeated inquiries with regard to the failure of Defendants to

bay the bonus, Defendants did not perform the promised act of paying Plaintiff the bonus.

64. As a proximate result of the aforementioned acts of Defendants, Plaintiff has lost

ad continues to lose income and benefits and has suffered other incidental and consequential

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ages and expenses in an amount according to proof at time of trial. Plaintiff claims such an
nount ag damages together with prejudgment interest pursuant to California Code of Civil

ocedure and/or other provisions of law providing for prejudgment interest.

65. Asa further proximate result of the aforementioned acts cf Defendants, Plaintiff
become mentally traumatized, distressed and agetavated. Plaintiff claims general damages for
ental distress in an amount according to proof at time of trial.
65. Asa further proximate result of Defendants’ conduct and the consequences
roximately caused by it, Plaintiff has suffered medical and related expenses in an amount
cording to proof at time of trial.
67. The above described actions were done with malice, fraud, oppression and in
eckless disregard of Plaintiff's rights and were despicable in character and warrant the imposition
bf punitive damages in a sum sufficient to punish and deter Defendants.

WHEREFORE, Plaintiff prays for judgment as hereinafter sct forth.

SEYENTH CAUSE OF ACTION

[Intentional Misrepresentation of Facts}
68. Plaintiff incorporates herein py reference Paragraphs | through 67 of her
Complaint as though fully set forth herein.
69. In September 2003, Plaintiff was promised a promotion to HR Representative if

Lhe received a Certificate of Human Resource Studies. Plaintiff was also specifically guaranteed

at her courses would be reimbursed by Defendant. Based on these express assurances, Plaintiff
nrolled in and completed six online courses toward a Certificate of Human Resource Studies
from Cornell’s School of Industry and Labor Relations. Plaintiff also enrolled in and paid for six
Lourses which she did not get the opportunity to complete before she was terminated. Plaindff
was neither promoted nor reimbursed for the cost of the last six courses she was enrolled in.
| "0. Plaintiff contends that Defendants made these representations to ber recklessly and

Kvithout regard for their truth for the purpose of temporarily appeasing and/or delaying Plaintiff

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, [rom receiving a well deserved and past due promotion. Further, Plaintiff contends that these

fepresentations were made recklessly because Defendants failed to inform Plaintiff of her

exmination until the last minute, and after Plaintiff had signed up for and paid for additional

urses. In fact, Defendants did not perform. as promised but instead terminated Plaintiff and

iled to reimburse her for the courses.

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6 71. Plaintiff, at the time these representations were made by Defendants and at the
+ time Plaintiff took the actions herein alleged, was ignorant of the falsity of Defendants’

g hepresentations and believed them to be true, In reliance on these representations, Plaintiff was

g Induced to and did enroll herself in study courses specifically for the purpose of receiving 4

19 promotion with GTECH. Plaintiff's reliance on Defendants’ representations was justified because
11 (Plaintiff had no reason to believe Defendants did not represent the truth of various facts stated.

12 72,  Asaproximate result of the fraudulent conduct of Defendants as herein alleged,

13 Plaintiff was induced to rely on the representations of Defendants as they pertained to her

14 Fnrellment in courses and promotion.

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15 73. Asa further proximate result of both of the aforementioned acts of Defendants,

16 Plaintiff has lost and continues to Jose income and benefits and has suffered other incidental and

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17 ronsequential damages and expenses in an ammount according to proof at time of trial, Plaintiff

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1g Flaims such an amount as damages together with prejudgment interest pursuant fo California Code
19 pf Civil Procedure and/or other provisions of law providing for prejudgment interest.
30 74. As a proximate result of the aforementioned acts of Defendants, Plaintiff has
- 91 pecome mentally traumatized, distressed and aggravated. Plaintiff claims gerieral damages for
73 bnental distress in an amount according to proof at time of trial.
33 75, Asa further proximate result of Defendants’ conduct and the consequences
74 proximately caused by it, Plainti#f has suffered medical and related expenses in an amount
35 focording to proof at time of trial.
% 76. The above described actions were done with malice, fraud, oppression and in

97 feckless disregard of Plaintiff's rights and were despicable in character and warrant the imposition

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bf punitive damages in a sum. sufficient to punish and deter Defendants.

WHEREFORE, Plaintiff prays for judgment as hereinafter set forth.

3 | EIGHTH CAUSE OF ACTI

4 { [Intentional Infliction of Emotional Distress}

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"7 Plaintiff incorporates herein by reference Paragraphs 1 through 76 of her

Lomplaint as though fully set forth herein.

78. Defendants knew or should have known that their insensitive and unlawful
etallation against Plaintiff was completely unwartanted, humiliating, demeaning, threatening and
ould cause Plaintiff to suffer severe emotional distress.

39. Defendants deliberately and intentionally engaged in the aforementioned acts of
ctaliation in order to cause Plaintiff severe emotional distress; alternatively, Plaintiff alleges that
he Defendants’ conduct was done with a reckless disregard that said conduct would cause her
pevere emotional distress.

80. The foregoing conduct did, in fact, proximately cause Plaintiff to suffer severe
Lmotional distress. As a proximate result of said conduct, Plaintiff suffered embarrassment,
anxiety, humiliation, emotional distress, and will continue ta suffer said emotional distress in an
mount in excess of a minimurn jurisdiction of this court, the precise amount of which will be
proven at time of trial.

i 81. Asaproximate result of the aforementioned acts of Defendants, Plaintiff has
become mentally traumatized, distressed and aggravated. Plaintiff claims genetal darmages for
foental distress in an amount according to proof at time of trial.

82, Asa further proximate result of the Defendants’ conduct and the consequences

hroximately caused by it, Plaintiff has suffered medical and related expenses in an amount

83. The above described actions were done with malice, fraud, oppression and in

ls to proof at tme of tial.
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eckless disregard of Plaintiff's rights and were despicable in character and warrant the imposition

bf punitive damages against Defendants in a sum sufficient to punish and deter Defendant.

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WHEREFORE, Plaintiff prays for judgment as follows:
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5 1. For general and special damages according to proof at time of trial;
4 2. For incidental and consequential damages according to proof at time of
4 trial;
5 3, For punitive damages in an amount sufficient to punish and deter
6 Defendants;
7 4. For prejitdgment interest at the highest possible rate from the earliest
8 possible date;
9 5. For costs of suit and reasonable attorney's fees herein incurred; and
10 6. For such other and further relief as the Court mey deem just and proper.
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All tvs (4) items below must be cornplefed {see insiructions on page 4).

7. Chack one box below for the case type that best describes this case:
Auto Tort Contract
C77) Auta (22) [77] fmach of contractwarranty (06) (Cai. Retes of Court, rules 41800-1612)
Uninsured motorist (45) Ll] Coffections (G8) [—_] Antirusi/Trade regulation (09)
Other PUPDAWVD (Personal injury/Property P77] Insurance coversge (18) [-__] Construction defect (10)

Provisionally Complex Civil Litigation

[~] Medical malpractice (45}

"| other PUPDAVD (23)

Non-PUPDIWD (Other) Tort

[__] Business tortfunfair business practice (07)

(| Civil nghts (08)
i Defamation (13)

F} Fraud (18)

[71 intenestual property (18)
Professional negligence (25)
[_] Other non-PUPD/WD tert (35)
Employment

Wrengty! termination (36)

C4 ther employment (15)

DamageWrongfut Qeath) Tort (] Other contract (37) [__] Mass tort (40)
[] Asbastos (04) Real Property L__] Securities litigation (28)
[_] Product tabinty (24) [__] eminent domain/inverse [___] Environmental ‘Toxic tort (30)

condemnation (14)

Lu] Wrengiul eviction (33}
Other real property (26}
Uniawtul Detainer
(_] Gommersiat (31)
Residential (32)
LC] Drugs (38)
Judicial Review
Asset forfetture (05)

[__} Pettion rs; arbitration award (11)

C7) wat of mandate (02)
[1] Other judicial aview (39)

["] isurance coverage claims arising from the
above listed provisionally carnplex caae
types (41)
Enforcement of Judgment
[C7] Gtorsement of judgment (20)
Miscellaneous Civil Complaint
C7) niece (27)
Other complaint (not specified above) (42)
Miscellaneous Civil Petition
Parinership and cerporate gavemancs (21)
[7] Other petition (not specified above) (43)-

2 This case Lo] Lal isnot complex under rule 1800 of the California Rules of Court. if the case Is complex, mark the

. factors requiring exceptional judicial management :
a. (1 Large number of separately represented parties 4. [__] Large number of witnesses

b. [__] Extensive motion practice raising difficult or novel
issues that will be time-consuming to resolve
c. (_] Substantial amount of cocumentary evidence

3. Type of remedies sought (check aif that apply):

a. monetary

b. [_] nonmonetary. dectaratory or injunctive reliet

4. Number of causes of attion (spec#y): EIGHT (8)

5. Thiacass Cl is (&] net
Date:December 13, 2004
ETAN E. ROSEN, ESQ.

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e. C__] Coordination with related actlens pending in one of mare courts
in other counties, states or countries, or In a federal court
+ [7] Substantial postjudgment judicial supervision

6. punitive

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other parties to the action or proceeding.

« File this cover sheet in addition to any cover sheat required by iccal
» {f this case ig complex under rule 1800 et seq, of the California Rules

NOTICE

« Pialnu® must file this cover sheet with the firet paper filad In the action or proceeding {except small daims cases or cases filed
under the Probate, Family, of Welfare and institutions Code). (Cai, Rules of Court, rule 201.8.) Fature to fila may resuit in

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County of Harramento
' | Program Case Notice

The Accelerated Civil Trial Case Management Prograra, (A.C.T.) requires the following timelines to be
met in all cases except those that are excluded by California Rules of Cout section 207(b):

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Summons, defendants

from the filing of the complaint.

When the complaint is amended to add a new defendant, the added defendant must be
served and proofs of service must be filed within 30 days after the filing of the
amended complaint.

A cross-cotmplaint adding a new party must be served and proofs of service must be

filed with the court 36 days from the filing of the cross-complant.

Statement of If a statement of damages pursuant to Section 425.11 of the Code of Civil Procedure or

Damages @ statement of punitive damages is required, it must be served with the summons aud
complaint,

Certificate of Within 75 days of the filing of the complaint, plaintiff must file a certificate of service

Service/Progress ot a certificate of progress oa a form provided by the court.

Responsive Pleadings | if a responsive pleading is not served within the time limits and uo extension of time
has been granted, the plaintiff within 10 days after the time for service has elapsed
must file a request for entry of default

Parties may stipulate without leave of court to one 15-day extension beyond the 30-day
time period prescribed far the response after service of the intial complaint

No extensions of time to respond beyoud 105 days from the filing of the complaint
may be piven. '

Judgment by Default | When a default is entered, the party who requested the entry of default must apply for 4
default judgment against the defaulting party within 45 days after entry of default,
unless the court bas pramted an extension of time.

CaseManagement | The court will serve a notice of case management conference on all parties

Statement approximately 120 days after the complaint is filed. A case management conference
. staternent shall be filed at least 15 calendar days prior to the date set for the case
manasement conference. ~ ,
Meet and Confer... _.| Parties must meet and confer, in person or by telephone as required in California Rules

of Court 212(6 at least 30 calendar days before the cas€ manayement conference date.

Case Management A case management conference is generally held within 180 days of the filing of the
Conference __| coraplaint.

Failure to comply with the program rules may result in the imposition of sanctions or an order to show
cause, Please refer to Local Rules 11.00 (CMP. to 11.19 (C.MLP.) for more information.

NOTE: THIS NOTICE MUST BE SERVED WITH THE SUMMONS AND COMPLAINT.

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GTECH LEGAL DEPT. ozs
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SUhuWiONS moun Bae 0 BE La CORTE}
(CITACION JUDICIAL) ee eee
NOTICE TO DEFENDANT:
{AVISO Al, DEMANDADO):
GTECH Corporation, and DOES 1 through 50, inclusive 2005 :
JAN 77
YOU ARE BEING SUED BY PLAINTIFF: WYO tr
(0 ESTA DEMANDANDO EL DEMANDANTE):
Brandy Hastings

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Tene 90 DIAS DE CALENDARIO despuds de que le entreguen asta titacién y pepelas legates para presentar und respuesta por escrife
en este carte y hacer que se eniregue una capia at gemandgnte, Une taria o una femadaé talefanica no fo protagen. Su respuarta por
escrife Jane que astar an formate legal correcto si desaa que procesen 3u raze en ia corte, Es posible que haya un formularie que usted
puede user para sy raspuesta. Puede encontrar estos fornutsrios da fa corte y mds informacién en ef Centro de Ayuda de las Cortes de
California {wvew, courtinfo_ca.gov/selthalprespanol), an je bibjioteca de Jeyes de xu condado o et ft corte gue fe qurade mas cerca, Sino
puede pagar la quota de presentecién, pidz af secretario de le corte que le dé un formuiario de exencion de page de cuctas. Sino presenta
su ‘aspuesia a tempo, puede perder ef C#S0 POF fncumplimiento y a corte le podrd quitar su suelo, dinero y bienes sin mas advertencia,

Hay ofros requisites legaies. Es recomendabis que lanre a un abogado iInmediatamente. Sino conoce 4 un abogedo, puerta Hamar a un
servicio de remisiGn a abogatiog, Sina puede pagar a un abegads, 43 posible que cumpia con jos requisites para obterter cervicios
jagaies gratuitas de un pragreme da servicios jegaias in fines de lucro. Pueds ancontrar estoy grupos ain fines de lucrn, on el sitio web de
Californ/la Lege! Services, (anww.fawhelpralifornia.arg), en ef Centro de Ayuda d6 fae Cortes de Califomia,
fwww.courtinfo.ca.govinotthelpaspanou) o ponléndese en contacto con fa corte o of colegio de sbogadas locales.

The name and address of the cout Is. CAST NUMBER: 0 4A A 5 0 5 3 n ‘A
(E} nombre y diraccién de le corte es): fAAmtrere ce? Caso}:

Superior Court of California, County of Sacramento,
720 Ninth Street

same, Sacramento, CA 95814

The name, addresa, and talephone number of plalrtiffe attomey, or plaintiff without an attorney, |s:

(E! namare, ia direccién y el nomero de teléfond del abogado def demandante, o de! demandante que Mo tiene abogado, 8s}:

Etan E. Rosen (Bar # 173728) BEYER, PONGRATZ & ROSEN

3230 Ramos Circle Phone No. (916) 369-9750
Sacramento, CA 95827 cP LO. Far Ne. (216) 309.9760
DATE: fer pa vias Clerk, by bi “4 ot , Deputy

(Fecha) ~ bee (Secratario} A fAdiunto)

For proof of servica of fis summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatidn use el formularie Proof of Service of Summans, {PGS-070)).
— NOTICE TO THE PERSON SERVED: ‘ou are served
{SEAL 1. as an Individual defendant
; 2. [| as the person sued under the fiettious name of (specify):

3. on behalf of (speolty): TECH Corpora OW"

under, PSI CCP 416.10 (comoration) CCP 416.66 (miner)
[7] COP 416.20 (defunct corporation) CCP 416.70 (conservatee)
[_] CCP 416.40 (asseciation er partnership) [| CCP 416.90 (authorized person)

: C] other (specify): eee’
4, 2 hy nersonal delivery on (dete): i [ 4 lob
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: ‘ POSs-010

[AR ToRNES SE PAR WETIOUT ATTORNEY (Name, Jarnumber, are SSrBss): FOR COURT URE ONLY
FianE. Rosen (Bar # 173728)
BEYER, PONGRATZ & ROSEN
3330 Ramos Circle, Sacramento, CA 95827
weepuone wo: (916) 369-9750 Fax No. rouvanap. (916) 3469-9760
E-MAIL ADORESS Mopfiorall erosen@bpriaw.net
ATTORNEY FOR jana): Plaintiff Brandy Hastings

LRT OF CALJFQRNIA, COUNTY OF SACRAMENTO
SERIO e720 Ninth Street

MAILING SDDRESS: SATTIC

ery ano ze cove: Sacramento 95814
BRANCH NAME:

PLAINTIFFAPE TITIONER: Brandy Hastings

CASE NUMBER:

DEFENDANTRESPONDENT: GTECH Corporation

Fat Na. or File Me:

PROOF OF SERVICE OF SUMMONS

(Separate proof of service is required for each party served.)

At the time of service | was at least 18 years of age and not a party fo this action.
2. 4 served copies of

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summons
complaint
Aiternativa Dispute Resolution (ADR) package

Civil Case Cover Sheet (served in complex cases only)
cresg-compialnt

other (specify documents}:

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3, a. Party served (specify name of party as shown on daeuments served):
b. Person served: [C7] party ia darn 3a [T1] other (specify name and reletionship to the party named in tern 3a):

6. Address where the party was served:

5. | served the party (check proper box)
a, Cc] by personal service. | personally delivered the documents fisted in item 2 bo the party or person authored tO
receive service of process tar the party (1} on (date): (2) at (ime):
b. [] by substituted service. On (dated: at (time): Heft the documents listed in item 2 with or
In the presance of (name and fle or relationship to person indicated in item 4b):

(1) [_] (business) a person at ledat 18 years of age apparently in charge at the office or usual place of business
of the person to be served. | informed him of her of the general nature of the papers.

(2) [_] fhoma) a compatant member of the household (at least 18 years of age) at the dwailing house or usual
place of abede of the party. | informed him or nee of the general nature of the papers.

(3) CI (physical address unknown) 2 person at least 18 years of age apparently In charge at the usual mailing

address of the person to be served, other than a United Stetes Poctal Service post ctfice box. | informed
him or her of the gangral nature of the papers. :

(4) [77] | thereafter mailed (by first-class, postage prepaid) copies of the documents to the person fo be served
at the place where the copies were lef (Code Civ, Pros, § 415.20). | mailed the documents an
(dats); from (city): or 3 declaration of mailing is attached.

45) (1 t atech a declaration of diligence stating actions taken first to attemot personal service.

Page Tork
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CASE NUABERL

PLAINTIFFPETIFIONER: Brandy Ho.ungs, et al.

DEFENDANTRESPONDENT: GIECH Corporation, st al.

c. [lL] by mallend acknowledgment of receipt of service. | mailed the documents listed in item @ 16 the party, ta the

atidreas shown in Item 4, by. first-class mail, postage prepaid,
(1) on (date): (2) from (city);

(3) [__| with two copies of the Notice and Acknowledoment of Receipt and 8 postage-paid return envelope addressed
tp me. (Attach completed Notice and Acknowledgement of Receipt) (Gode Clv. Proc. § 415,30.)
(4) [U7] +o an address outside Califemia with retum receipt requested. (Geode Civ. Proc., § 415.40.)

g. [7] by other means (specify means of service and authorizing code section):

TT] Additional page deserbing service is attached.
6. The "Noti¢e to the Person Served" (on the summons) was completed as follows:

6. [1] as an individual defendant
b. [__] as the person sued under the fictitious name af (specify): ‘
G. iL as occupant.
d. [_| on banalt of (speciy}:
under the folowing Code of Givil Procedure section:
(] 4418.10 (corporation) [7] 415.98 (business organization. form unknown)
(1 416.20 (defunct corporation} (] 416.80 (minon
(J 416.20 Goint stock company/association) TT 418.70 (ward or congervatea)
[] 418.40 (association or partnership) [07] 416.90 (authorized person)
(3 416.50 (public entity) [7] 415.46 (eccupant)
LJ other,

7. Person who served papers
a, Name:
b. Address:
ec. Telephone number:
d. The fee for service was: 3
=£

lam:

(} not @ registered California process server.

(2) exempt from registration under Business anc Professions Code section 22356(5).
(3) registered Galifornia process S€rvern

@ (7) owner [] employee [[_] independent contractor.
dy = Registration Ne.:
@i County.

8. (7) tdectare under penalty of perjury under the laws of the Stale of faliformia that the foregoing is true and correct

or
9. | am a California sheriff or marshal and | certify that the foregoing is tue and ootrect

Date:

>

INANE OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL) (SIGNATURE)

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PROOF OF SERVICE OF SUMMONS Page 2 of2
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PORTER, SCOTT,

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WEIBERG & DELEHANT
A FHOFESSION AL CORPORATION
JS UNIVERSEFY AVE, SLITE 208

BO. BOX AMR

SACRAMENTO, CA 95H65

(986) 929-1481
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A Professional Corporation

Michael W. Pott, SBN 186156 PS PRE Lt OM os
Justin N. Telford SBN 232335 Ee
350 University Avenue, Suite 200 CPL chases

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Sacramento, California 95825
(916) 929-1481
(916) 927-3706 (facsimile)

Attorneys for Defendants: GTECH CORPORATION

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SACRAMENTO

BRANDY HASTINGS, CASE NO. 044805024
Plaintiff, ANSWER TO COMPLAINT

VS.

GTECH, CORPORATION, and DOES |

through 50, inclusive, Complaint Filed 12/15/04
Defendants. /

Comes now, Defendant GTECH, CORPORATION and answers Plaintiff's Complaint

as follows:
GENERAL DENIAL
Defendant denies generally and specifically each and every allegation of said
Complaint and each and every alleged cause of action therein and further denies that
Plaintiff was or will be damaged in any sum or sums whatsoever.
AFFIRMATIVE DEFENSES

FIRST AFFIRMATIVE DEFENSE:

As and for a first affirmative defense, Defendant alleges that the Complaint, and each
purported cause of action therein, fails to state a cause of action against this answering
Defendant.

SECOND AFFIRMATIVE DEFENSE:

As for a second affirmative defense, Defendant alleges that any recovery on

Answer (00316608.WPD;1} ANSWER TO COMPLAINT

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Case 2:05-cv-00630-MCE-GGH Document 1-2 Filed 03/28/05 Page 28 of 36

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Plaintiff's claim is barred on the grounds that plaintiff failed to exhaust administrative

2 || remedies and failed to properly perfect a right of action.
3 |} THIRD AFFIRMATIVE DEFENSE:
4 As and for a third affirmative defense, Defendant alleges that at all times herein,
5 | Defendant acted in good faith, and that it took the actions that it did for legitimate, non-
6 || discriminatory and non-retaliatory reasons.
7 | FOURTH AFFIRMATIVE DEFENSE:
8 As and for a fourth affirmative defense, Defendant alleges Plaintiff, at all times
9 || mentioned in the Complaint, was herself at fault.
10 | FIFTH AFFIRMATIVE DEFENSE:
il As and for a fourth affirmative defense, Defendant alleges Plaintiff, with the exercise
12 || ofreasonable diligence and effort, would have and could have mitigated the damages alleged

13 | in the Complaint, if there were any, and the resultant damages, if any, complained of in the
14 || Complaint were directly and proximately caused by the failure, neglect, and refusal of
15 || plaintiff to exercise reasonable diligence and effort to mitigate the damages alleged.

16 | SIXTH AFFIRMATIVE DEFENSE:

17 As and for a sixth affirmative defense, Defendant alleges Plaintiff is guilty of unclean
18 | hands, barring her from relief against this answering Defendant.

19 | SEVENTH AFFIRMATIVE DEFENSE:

20 As and for a seventh affirmative defense, Defendant alleges Plaintiff was, at all times
21 || mentioned in the Complaint, herself guilty of breach of contract.

22 || EIGHTH AFFIRMATIVE DEFENSE:

23 As and for an eighth affirmative defense, Defendant denies the allegations contained
24 | in Plaintiffs Complaint, but if such conduct is found to have occurred, Defendant alleges
25 || that the conduct was consented to by Plaintiff.

26 | NINTH AFFIRMATIVE DEFENSE:

27 As and for a ninth affirmative defense, Defendant alleges that to the extent Plaintiff

LAW OFFICES OF

rorserscort, 28 | seeks damages under California law for emotional and physical distress, Plaintiff's exclusive

WEIBERG & DELEHANT
& PROFESSIONAL CORPORATION
IMLLINEVERSITY AVE, SLATE 200
PO. BON 245a28 2

SACRAMENTO. Ca $5865
£916) 929-)4BE

iw pewdlaw.com Answer (00316608. WPD;1) ANSWER TO COMPLAINT

LAW OFFICES OF
PORTER SCOTT,

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WEIBERG & DELEHANT
& PROFESSIONAL CORPORATION
JSVUNIVERSITY ave, StUITE 200

P.O. Bex pesa78

SACRAMENTO, CA 95805

(S16) 929-1481
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remedy is provided by the Workers’ Compensation Act, California Labor Code § 3600, et
seq. Alternatively, defendant alleges that it may be entitled to a set-off for any amounts paid
to plaintiff pursuant to the California Workers’ Compensation Act.

TENTH AFFIRMATIVE DEFENSE:

As and for a tenth affirmative defense, Defendant alleges that liability may not be
imposed upon it for the acts complained of because it took reasonable steps to prevent and
correct work place sexual harassment; Plaintiffunreasonably failed to use the preventive and
corrective measures that defendant provided; and reasonable use of Defendant’s procedures
would have prevented at least some of the harm that Plaintiff claims to have suffered.

ELEVENTH AFFIRMATIVE DEFENSE:

As and for an eleventh affirmative defense, Defendant alleges that Plaintiff has failed
to state facts sufficient to support an award of punitive and exemplary damages against
Defendant.

TWELFTH AFFIRMATIVE DEFENSE:

As and for a twelfth affirmative defense, Defendant alleges that Plaintiff's claims are
barred in whole or in part by the applicable statutes of limitation.

THIRTEENTH AFFIRMATIVE DEFENSE:

As and for a thirteenth affirmative defense, Defendant alleges that it cannot be held
liable for punitive damages because, at the time of the alleged acts or omissions giving rise
to Plaintiff's claim for punitive damages, defendant had implemented in good faith one or
more policies prohibiting the alleged acts or omissions and/or had otherwise made good faith
efforts to comply with applicable law.

FOURTEENTH AFFIRMATIVE DEFENSE:

As and for a fourteenth affirmative defense, Defendant alleges that liability may not
be imposed on it for the acts complained of because those acts, if any, were not committed
within the course and scope of employment of any employee of Defendant, and/or because
Defendant did not know, and should not have known, of the alleged harassment.

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Answer {00316608,WPD:1) ANSWER TOG COMPLAINT

pase 2:05-cv-00630-MCE-GGH Document 1-2 Filed 03/28/05 Page 30 of 36
! WHEREFORE, Defendant prays for relief as follows:
2 1. That the Complaint be dismissed with prejudice and that plaintiff take nothing
3 || thereby;
4 2. For Defendant’s cost of suit herein, including reasonable attorneys fees; and
5 3. For such other and further relief as the Court deems just.
6 | Dated: February 3, 2005 Respectfully Submitted,
7 PORTER, SCOTT, WEIBERG & DELEHANT
3 A Professional Uv n
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By
10 MM. W. Pott
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win pswalaw com Answer (00316608.WPD:1) ANSWER TO COMPLAINT

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PORTER, SCOTT,

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WEIBERG & DELEHANT
A PROCESSION AL CORPORATION
TSQUNIVERSITY AYE, SUITE 200

PC. HEN TENIK

SACRAMENTO, CA S5k85

(986) 920 fae

pase 2:05-cv-00630-MCE-GGH Document 1-2 Filed 03/28/05 Page 31 of 36

CASE NAME: Hastings v. GTECH Corporation, et al.
CASE NO.: Sacramento Superior Court Case No. 04AS05024

DECLARATION OF SERVICE

Iam a citizen of the United States and a resident of Sacramento County, California.
Tam over the age of eighteen years and not a party to the within above-entitled action. My
business address is P.O, Box 255428, 350 University Avenue, Suite 200, Sacramento,
California 95865.

On February 3, 2005, I served the following:
ANSWER TO COMPLAINT

XX = BY MAIL. I am familiar with this Company's practice whereby the mail, after
being placed ina designated area, is given the appropriate postage and is deposited

_inaU.S. mailbox in the City of Sacramento, California, after the close of the day's

: business.

| Cl Certified Mail/Return Receipt Requested, Article #

BY PERSONAL SERVICE. I caused such document(s) to be delivered by hand
to the office of the person(s) listed above.

BY OVERNIGHT DELIVERY. I caused the above-listed document(s) to be
delivered by overnight delivery to the office of the person(s) listed below.

BY FACSIMILE. I caused the above-listed document(s) to be transmitted by
facsimile transmission from (916) 927-3706 to the facsimile number listed below.
The transmission was reported as completed and without error. A copy of the
transmission report is attached. The transmission report was properly issued by the
transmitting facsimile machine.

Etan E. Rosen

BEYER, PONGRATZ & ROSEN
3230 Ramos Circle

Sacramento, CA 95827

Fax #: (916) 369-9760

X | State: I declare under penalty of perjury under the laws of the State of California that

_ the foregoing is true and correct.
X | Executed on February 3, 2005, at Sacramento, Califoptfa) a?
Penny Ada

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Proof of Service

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LAW OFFICES OF

PORTER, SCOTT, 28
WEIBERG & DELERANT
ATROFESBSIONAL CORPORATION
UNG UNIVERSITY AVE, SUITE 200

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SACRAMENTO. CA 95865
(916) 929-148

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(Case 2:05-cv-00630-MCE-GGH Document 1-2 Filed 03/28/05 Page 32 of 36

PORTER, SCOTT, WEIBERG & DELEHANT
A Professional Corporation

Michael W. Pott, SBN 186156

Justin N. Telford SBN 232334

350 University Avenue, Suite 200

Sacramento, California 95825

(916) 929-1481

(916) 927-3706 (facsimile)

Attomeys for Defendants: GTECH CORPORATION

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SACRAMENTO

3.23:05
BRANDY HASTINGS, ¢ALENDARED CASE NO. 044805024
YO. REQUEST FOR STATEMENT OF
Plaintiff VES DAMAGES

GTECH, CORPORATION, and DOES 1 Complaint Filed 12/15/04

through 50, inclusive,

Defendants.
/

TO PLAINTIFF BRANDY HASTINGS AND HER ATTORNEY OF RECORD:
Pursuant to California Code of Civil Procedure section 425.11, Defendant requests

that Plaintiff provide Defendant with a statement setting forth the nature and the amount of

damages, both general and special, being sought by Plaintiff herein within fifteen (15) days

after the service hereof.

Dated: March 3, 2005 Respectfully Submitted,

PORTER, SCOTT, WE
A Professional Corpo

By { .
wchael W. Pott
in N. Telford

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00318680.WPD REQUEST FOR STATEMENT OF DAMAGES E
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PORTER, SCOTT,

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WEIBERG & DELEHANT
A PROFESSIONAL CORPORATION
ISO UNIVERSITY AVE, SUITE 200

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SACRAMENTO, CA $5865

(916) 929. £48)
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|. 2:05-cv-00630-MCE-GGH Document 1-2 Filed 03/28/05 Page 33 of 36

CASE NAME: Hastings v. GTECH Corporation, et al.
CASE NO.: Sacramento Superior Court Case No. 044805024

DECLARATION OF SERVICE

Tam a citizen of the United States and a resident of Sacramento County, California. ]
am over the age of eighteen years and not a party to the within above-entitled action. My
business address is P.O. Box 255428, 350 University Avenue, Suite 200, Sacramento,
California 95865,

On March 3, 2005, I served the following:
REQUEST FOR STATEMENT OF DAMAGES

XX | BY MAIL. I am familiar with this Company's practice whereby the mail, after

being placed ina designated area, is given the appropriate postage and is deposited

in a U.S. mailbox in the City of Sacramento, California, after the close of the day's
usiness,

CO) Certified Mail/Return Receipt Requested, Article #

BY PERSONAL SERVICE. I caused such document(s) to be delivered by hand
to the office of the person(s) listed above.

BY OVERNIGHT DELIVERY. I caused the above-listed document(s) to be
delivered by overnight delivery to the office of the person(s) listed below.

BY FACSIMILE. | caused the above-listed document(s) to be transmitted by
facsimile transmission from (916) 927-3706 to the facsimile number listed below.
The transmission was reported as completed and without error. A copy of the
transmission reportis attached. The transmission report was properly issued by the
transmitting facsimile machine.

Etan E. Rosen

BEYER, PONGRATZ & ROSEN
3230 Ramos Circle

Sacramento, CA 95827

Fax #: (916) 369-9760

X | State: I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct.

X | Executed on March 3, 2005, at Sacramento, California,

ee oo
nr

Tanya Gabbert

Proof of Service

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ETAN E. ROSEN, Esq. (SBN 173728) RECEIVED

BEYER, PONGRATZ & ROSEN
A Professional Law Corporation
3230 Ramos Circle

Sacramento, CA 95827

(916) 369-9750-telephone

(916) 369-9760-facsimile

Attorney for Plaintiff
BRANDY HASTINGS

MAR 1 8 200%

_ PORTER SCotr,
WEIBERG & DELEHANT

IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

IN AND FO

BRANDY HASTINGS,
Plaintiff,

¥.

GTECH, CORPORATION, and DOES i

through 50, inclusive,

Defendants,

R THE COUNTY OF SACRAMENTO

Case No: O04AS805024
STATEMENT OF DAMAGES

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The nature and amount of damages sought by BRANDY HASTINGS in the above-entitled

action are as follows:

i. Lost Income § 37,000.00

2. Lost Future Income $ 111,000.00

3. General and Special Damages § 500,000.06

4, Attorney Fees $ 100,000.00

5. Punitive Damages $1,000,000.00
748,000.00

Dated: By:
O% || of ETAN E. ROS

Attorney for Plainti

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STATEMENT OF DAMAGES

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Hastings v.
PROOF OF SERVICE

I am a citizen of the United States, employed in the City of Sacramento, County of
Sacramento. My business address is 3230 Ramos Circle, Sacramento, California 95827. lam over
the age of 18 years and not a party to the above-entitled action.

lam familiar with the Business practice of the LAW OFFICES OF BEYER, PONGRATZ
& ROSEN whereby facsimiles are sent over the appropriate means proscribed by law. lam familiar
with the business practices of the LAW OF FICES OF BEYER, PONGRATZ & ROSEN in which
the mail is sealed, given the appropriate postage and placed in a designated mail collection area.
Each day's mail is collected and deposited in a U.S. mailbox after the close of each day's business.

On the date set forth below, I served the following:

PLAINTIFF’S STATEMENT OF DAMAGES
(XX) on the parties in this action by causing a true copy thereof to be placed in a sealed envelope

with postage thereon fully prepaid in the designated area for outgoing mail and:

() on the parties in this action by causing a true copy thereof to be telecopied by a facsimile
to the attorney(s) of record in the above-entitled action

() on the parties in this action by causing a true copy thereof to be delivered by hand on the
offices of the addressee(s}

Addressed as follows:

Michael W. Pott

Justin N. Telford

PORTER SCOTT WEIBERG & DELEHANT
350 University Avenue, Suite 200

Sacramento, CA 95825

Fax: 916-927-3706

Tel: 916-929-148]

I declare under penalty of perjury that the foregoing is true and correct and that this
Declaration was executed on March 17, 2005, at Sacramento, California.

PROOF OF SERVICE

LAW OFFICES OF
PORTE iT.

ww pswdlawcam

Case 2:05-cv-00630-MCE-GGH Document 1-2 Filed 03/28/05 Page 36 of 36

CASE NAME: — Hastings v. GTECH Corporation, et al.
CASE NO.: Sacramento Superior Court Case No. 044805024
USDC EDCA Case No.

BECLARATION OF SERVICE
lama citizen of the United States and a resident of Sacramento County, California. I am over
the age of eighteen years and not a party to the within above-entitled action. My business address is
P.O. Box 255428, 350 University Avenue, Suite 200, Sacramento, California 95865.
On March 28, 2005, I served the following:

NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. SECTION 1441(b) (DIVERSITY)

XX BY MAIL, [ am familiar with this Company's practice whereby the mail, after being
_ placed in a designated area, is given the appropriate postage and is deposited in a U. S.
_ mailbox in the City of Sacramento, California, after the close of the day's business.
| () Certified Mail/Return Receipt Requested, Article #

BY PERSONAL SERVICE. I caused such document(s) to be delivered by hand to the
office of the person(s) listed above.

BY OVERNIGHT DELIVERY. | caused the above-listed document(s) to be delivered
by overnight delivery to the office of the person(s) listed below.

' BY FACSIMILE. I caused the above-listed document(s) to be transmitted by facsimile
transmission from (916) 927-3706 to the facsimile number listed below. The transmission
was reported as completed and without error. A copy of the transmission report is
attached. The transmission report was properly issued by the transmitting facsimile
_ machine.

Etan E. Rosen

BEYER, PONGRATZ & ROSEN
3230 Ramos Circle

Sacramento, CA 945827

Fax #: (916) 369-9760

x State: I declare under penalty of perjury under the laws of the State of California that the
_ foregoing is true and correct.

_X_, Executed on March 28, 2005, at Sacramento, California. —

Lo a

Pénny Adams”

Proof of Service

